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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

 NELSON, et al.,

        Plaintiffs,
                                                     CIVIL ACTION NO. 3:20-cv-00837-JWD-
        v.                                           RLB

 LANDRY, et al.,

        Defendants.


MOTION FOR PROTECTIVE ORDER OR, ALTERNATIVELY, MOTION TO QUASH
                         SUBPEONAS

       COME NOW, Plaintiffs, by and through undersigned counsel, and pursuant to Rules 26, 37,

and 45 of the Federal Rules of Civil Procedure, submits this Motion for a protective order regarding

twelve subpoenas issued by Defendants to District Attorneys, Sheriffs, and the New Orleans Police

Department Superintendent. Alternatively, Plaintiffs request that this court quash the subpoenas

because Plaintiffs have a personal and private interest associated with the records requested by the

subpoenas. Defendants oppose this motion.

       In support of this Motion, Plaintiffs rely on the accompanying memorandum.

Respectfully submitted this 9th day of September, 2022.



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